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                         IN THE UNITED STATES DISTRCT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


SOUTHWEST AIRLINES CO.,                   )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )                   Civil Action No. 5:24-cv-01085-XR
                                          )
THE CITY OF SAN ANTONIO, TEXAS and        )
JESUS SAENZ, in his official capacity as  )
Director of Airports for the City of San  )
Antonio, Texas,                           )
                                          )
               Defendants.                )
__________________________________________)

 PLAINTIFF’S UNOPPOSED MOTION TO PARTIALLY MODIFY FIRST AMENDED
  PRELIMINARY INJUNCTION SCHEDULING ORDER AND DISCOVERY PLAN

          Plaintiff Southwest Airlines Co. files this Unopposed Motion to Partially Modify the First

Amended Preliminary Injunction Scheduling Order and Discovery Plan, and in support thereof,

states:

          1.     On January 15, 2025, the Court entered a First Amended Preliminary Injunction

Scheduling Order and Discovery Plan (DKT. NO. 53). Among other deadlines, the First Amended

Scheduling Order required Defendants to complete their document production by February 3,

2025.

          2.     On February 12, 2025, nine days after the Court’s deadline for Defendants to

complete their document production, Defendants produced approximately 27,000 pages of

discovery. Because this production falls nine days after Defendants’ deadline to complete their

production, the Parties have conferred and the City does not oppose extending the following

deadlines by an equivalent time period:




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                a.      Plaintiff’s deadline to file First Amended Complaint; and

                b.      The Parties’ deadline to complete fact witness depositions.

        3.      The Parties do not seek to extend the remaining filing deadlines, all of which are

due depending on the filing date of the First Amended Complaint. The Parties also do not seek to

delay the Preliminary Injunction Hearing/MTD Hearing currently set for April 23, 24, and 30,

2025.

        4.      This Motion is governed by Rule 16(b)(4), which provides that “a schedule may

be modified only for good cause and with the judge’s consent.” FED. R. CIV. P. 16(b)(4).

        5.      “To show good cause, the party seeking to modify the scheduling order has the

burden of showing that the deadlines cannot reasonably be met despite the diligence of the party

needing the extension.” Squyres v. Heico Cos., L.L.C., 782 F.3d 224, 237 (5th Cir. 2015)

(internal quotation marks omitted); accord Fahim v. Marriott Hotel Servs., Inc., 551 F.3d 344,

348 (5th Cir. 2008).

        6.      Southwest has timely complied with all discovery obligations and has been

proactive in attempting to resolve differences with Defendants. However, due to Defendants’

failure to meet the Court’s deadline to complete its document production, Southwest seeks a

minor and equivalent extension to allow its rights under the Amended Scheduling Order to be

preserved. This request is not for delay but solely so that justice may be done.

                                              PRAYER

        For the reasons described herein, Southwest respectfully requests that the Court grant this

Motion and enter a partially modified scheduling order. Further, Southwest respectfully requests

all additional relief to which it may be justly entitled.




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                            Respectfully Submitted,


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                             CERTIFICATE OF CONFERENCE

       I do hereby certify that on February 12, 2025, I conferred with Defendants’ counsel
concerning the requested relief herein. Defendants are not opposed to the relief requested and I
am marking this Motion as Unopposed.

                                              /s/ Lawrence Morales II
                                              Lawrence Morales II


                                CERTIFICATE OF SERVICE

        I do hereby certify that on February 12, 2025, I electronically filed the foregoing with the
Clerk of the Court using the CM-ECF system, which will send notification of such filing to the
all counsel of record.

                                              /s/ Lawrence Morales II
                                              Lawrence Morales II




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